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Susan Trainor Lunsnhtrg
44 Penobscott Ave. Harvard
Hubbardston, MA 01452 Batton
Baxborough

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Dear Ms. Trainor:

After receiving two verbal warnings on January 26, 2011 and March 4, 2011, you were issued written warnings
on March 8 and April 6, 2011 regarding your failure to follow MART’s call out policy by not calling in to inform
your supervisor you would be late. On Friday, July 8" you did not call in until 8:43 a.m. when your report time
is 8:00 a.m., this is in violation of MART’s policy which states “Employees are expected to telephone a
Supervisor each day or partial day they are out sick prior to their scheduled report time” Because of your
failure to properly inform us of your absence on several occasions and ignoring the warnings given by your
supervisor, your employment with MART is hereby terminated with immediate effect.

Enclosed is your final paycheck # 9200 dated July 12, 2011 2010 which includes 52.5 hours regular pay, and
10.71 hours vacation leave pay. An additional 37.5 hours of notification pay is included.

Your life and disability group insurance benefit will be discontinued effective July 13, 2011 at

12:01 a.m. You may purchase an individual policy of life insurance from The Standard within the 31-day
conversion period after your insurance cancellation by MART. If elected, you must apply for a new policy with
The Standard by calling 1-800-253-9929 and refer to group number 122834.

Please contact Michael Farmer at 508-926-1441 to discuss your options regarding your Pacific Life 401 (a)
Retirement Plan.

Regarding your deferred compensation Great West is being notified by MART of your final day of employment.

A copy of the Massachusetts Unemployment Insurance Benefits information Form 0590-A is attached.

Sincerely,

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Mohammed Khan
Administrator

Cc Personnel File
Susan Gallien, Chief Financial Officer

Donna Landry, Director of Operations/HR
Enc.
